             Case 19-23697-KCF                  Doc 1         Filed 07/15/19 Entered 07/15/19 12:14:27                         Desc Main
                                                              Document Page 1 of 58
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

         District Of New Jersey
     ______________

     Case number (If known): _________________________ Chapter you are filing under:
                                                                 Chapter 7
                                                                 Chapter 11
                                                                 Chapter 12
                                                              
                                                              X   Chapter 13                                                Check if this is an
                                                                                                                               amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                           12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture        Derek
                                        __________________________________________________            __________________________________________________
                                        First name                                                    First name
       identification (for example,
       your driver’s license or         Bernard
                                        __________________________________________________            __________________________________________________
       passport).                       Middle name                                                   Middle name

       Bring your picture               Battle
                                        __________________________________________________            __________________________________________________
       identification to your meeting   Last name                                                     Last name
       with the trustee.                ___________________________                                   ___________________________
                                        Suffix (Sr., Jr., II, III)                                    Suffix (Sr., Jr., II, III)




2.    All other names you               __________________________________________________            __________________________________________________
      have used in the last 8           First name                                                    First name
      years
                                        __________________________________________________            __________________________________________________
       Include your married or          Middle name                                                   Middle name
       maiden names.                    __________________________________________________            __________________________________________________
                                        Last name                                                     Last name

                                        __________________________________________________            __________________________________________________
                                        First name                                                    First name

                                        __________________________________________________            __________________________________________________
                                        Middle name                                                   Middle name
                                        __________________________________________________            __________________________________________________
                                        Last name                                                     Last name




3.    Only the last 4 digits of
      your Social Security              xxx    – xx – ____
                                                       7 ____
                                                           2 ____
                                                               0 ____
                                                                  4                                  xxx    – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
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Debtor 1        Derek Bernard Battle
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                         
                                           X I have not used any business names or EINs.                 I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           1 Barge Lane
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                           Somerset                        NJ      08873
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                           SOMERSET
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                           
                                           X Over the last 180 days before filing this petition,         Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1        Derek Bernard Battle
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            Chapter 7
                                            Chapter 11
                                            Chapter 12
                                           
                                           X Chapter 13

8.    How you will pay the fee             
                                           X I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                    No
      bankruptcy within the
      last 8 years?                        
                                           X Yes.             District of New Jersey
                                                     District __________________________ When    01/29/2019
                                                                                                 _______________    Case number 19-11788
                                                                                                                                ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   
                                           X No
      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                     
                                           X No.     Go to line 12.
      residence?                            Yes.    Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1        Derek  Bernard Battle
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                X No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                
                                                X No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    
                                                X No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1        Derek Bernard Battle
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             X I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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Debtor 1       Derek  Bernard Battle
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                X   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                           
                                           X No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                     No
      administrative expenses
      are paid that funds will be                      Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           X 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                           
                                           X $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                               
                                                                                      X $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                            /s/Derek Bernard Battle
                                              ______________________________________________               _____________________________
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          07/15/2019
                                              Executed on _________________                                    Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1     Derek Bernard Battle
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        /s/Vincent
                                         _________________________________
                                                    D. Commisa                                              Date           _________________
                                                                                                                           07/15/2019
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           Vincent D. Commisa
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Vincent D. Commisa, Esq.
                                           _________________________________________________________________________________________________
                                           Firm name

                                           20 Manger Road
                                           _________________________________________________________________________________________________
                                           Number     Street

                                           _________________________________________________________________________________________________

                                           West Orange
                                           ______________________________________________________ NJ
                                                                                                  ____________ 07052
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (973) 821-7722
                                           Contact phone _____________________________________             Email address   vcommisa@vdclaw.com
                                                                                                                           ______________________________




                                           1594                                                   NJ
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
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Fill in this information to identify your case and this filing:


Debtor 1          Derek                  Bernard               Battle
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        District of New Jersey
United States Bankruptcy Court for the: ______________________________________

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X    Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 X    Single-family home                           the amount of any secured claims on Schedule D:
      1.1. 1 Barge Lane
           _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                          659,000.00
                                                                                                                   $________________         659,000.00
                                                                                                                                            $_______________
                                                                     Investment property
             Somerset                 NJ 08873
             _________________________________________
                                                                     Timeshare                                    Describe the nature of your ownership
             City                        State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   Fee Simple Ownership
                                                                                                                   __________________________________________
             Somerset                                            
                                                                 X Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


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                                                                 What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  659,000.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes

           Make:                      Honda
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     Accord
                                      ______________
                                                                 Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                      2015
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           Approximate mileage: ____________                     
                                                                 X At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see                Unknown
                                                                                                                          $________________          Unknown
                                                                                                                                                    $________________
           Leased Vehicle
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                      Toyota
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     Highlander
                                      ______________
                                                                 Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                      2016
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
           Approximate mileage:       31246
                                      ____________               
                                                                 X At least one of the debtors and another
           Other information:
                                                                                                                           Unknown                   Unknown
           Leased Vehicle                                         Check if this is community property (see               $________________         $________________
                                                                     instructions)




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            Make:                            See  1
                                             ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           CLS550
                                             ______________
                                                                              
                                                                              X Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:                            2014
                                             ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
                                             5296                                                                                                        entire property?                 portion you own?
            Approximate mileage:             ____________                     At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                  35,000.00
                                                                                                                                                         $________________                 35,000.00
                                                                                                                                                                                          $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   X No
    Yes

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?

                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       35,000.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
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Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X    Yes. Describe. ........          Household Property                                                                                                                                          1,500.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   X No
    Yes. Describe. .........                                                                                                                                                                       $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   X No
    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   
   X    Yes. Describe. ..........Wearing Apparel                                                                                                                                                     1,000.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   
   X    Yes. Describe. ..........
                                 Watch, rings                                                                                                                                                        1,000.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                 $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X    No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       3,500.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
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Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No

 X     Yes .....................................................................................................................................................................    Cash: .......................     100.00
                                                                                                                                                                                                                      $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                             Affinity Federal Credit Union
                                                                                                 _________________________________________________________                                                             500.00
                                                                                                                                                                                                                      $__________________

                                             17.2. Checking account:                              _________________________________________________________                                                           $__________________

                                             17.3. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                           $__________________

                                             17.6. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                           $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   X No                                      Name of entity:                                                                                                                         % of ownership:
   Yes. Give specific                      _____________________________________________________________________                                                                   ___________%                     $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                   ___________%                     $__________________
                                             _____________________________________________________________________                                                                   ___________%                     $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                            page 5
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No
 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________            $__________________
                                         ______________________________________________________________________________________
                                                                                                                                           $__________________
                                         ______________________________________________________________________________________
                                                                                                                                           $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X   No
      Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________     $__________________

                                         Pension plan:             ___________________________________________________________________     $__________________

                                         IRA:                      ___________________________________________________________________     $__________________

                                         Retirement account:       ___________________________________________________________________     $__________________

                                         Keogh:                    ___________________________________________________________________     $__________________

                                         Additional account:       ___________________________________________________________________     $__________________

                                         Additional account:       ___________________________________________________________________     $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                         Institution name or individual:

                                         Electric:             ______________________________________________________________________      $___________________
                                         Gas:                  ______________________________________________________________________      $___________________
                                         Heating oil:          ______________________________________________________________________      $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                           $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                           $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                           $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                           $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                           $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                           $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                          _______________________________________________________________________________________          $__________________
                                         _______________________________________________________________________________________           $__________________
                                         _______________________________________________________________________________________           $__________________


Official Form 106A/B                                                        Schedule A/B: Property                                                  page 6
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   X   No
      Yes. Give specific information                                                                                         Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                $_________________
            and the tax years. ......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                   $________________
                                                                                                                             Maintenance:               $________________
                                                                                                                             Support:                   $________________
                                                                                                                             Divorce settlement:        $________________
                                                                                                                             Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                        $______________________



Official Form 106A/B                                                         Schedule A/B: Property                                                               page 7
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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   X    No
       Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X    No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       600.00
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________



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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X     No
                     Yes. Describe.........
                                                                                                                                                                                                    $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                                $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                     0.00
                                                                                                                                                                                                    $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                  Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured claims
                                                                                                                                                                                                    or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                      $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                    page 9
                 Case 19-23697-KCF                                       Doc 1               Filed 07/15/19                          Entered 07/15/19 12:14:27                                                 Desc Main
 Debtor 1              Derek        Bernard          Battle Document
                       _______________________________________________________ Page 17 of Case
                                                                                          58 number (if known)_____________________________________
                       First Name             Middle Name                   Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                             $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                 $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                 $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                             $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No
                                                                                                                                                                                                                  $________________
          Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      659,000.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    35,000.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               3,500.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           600.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             39,100.00
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  39,100.00


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        698,100.00
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
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                                    Attachment
                        Debtor: Derek Bernard Battle Case No:


Attachment 1
     Mercedes Benz
               Case 19-23697-KCF                Doc 1        Filed 07/15/19 Entered 07/15/19 12:14:27                                 Desc Main
                                                            Document Page 19 of 58
 Fill in this information to identify your case:

 Debtor 1          Derek Bernard Battle
                   __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: District of New  Jersey
                                         _____________________________________________
                                          __________   District of __________

 Case number
  (If known)
                     ___________________________________________                                                                           Check if this is an
                                                                                                                                              amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
     
     X You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from         Check only one box for each exemption.
                                                          Schedule A/B

                   2015 Honda Accord with miles.                                                                            11 USC § 522(d)(2)
                                                                                                                            ____________________________
      Brief
      description: _________________________
                                                           Unknown
                                                          $________________            
                                                                                       X $ Unknown
                                                                                           ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 3.1                                                                   any applicable statutory limit
                    ______                                                                                                  ____________________________

                   2016 Toyota Highlander with                                                                              11 USC § 522(d)(2)
                                                                                                                            ____________________________
      Brief
      description: _________________________
                   31246 miles.
                                                           Unknown
                                                          $________________               Unknown
                                                                                       X $ ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 3.2
                    ______                                                                any applicable statutory limit
                                                                                                                            ____________________________
                   2014 Mercedes Benz CLS550                                                                                11 USC § 522(d)(2)
                                                                                                                            ____________________________
      Brief
      description: with 5296 miles.
                                                           35,000.00
                                                          $________________            
                                                                                       X $ 35,000.00
                                                                                           ____________                     ____________________________
                       _________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: ______
                    3.3                                                                   any applicable statutory limit
                                                                                                                            ____________________________

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                        2
                                                                                                                                                   page 1 of __
           Case 19-23697-KCF                 Doc 1   Filed 07/15/19 Entered 07/15/19 12:14:27 Desc Main
Debtor 1     Derek  Bernard Battle                 Document
             _______________________________________________________
                                                                     Page 20 of Case
                                                                                58 number (if known)_____________________________________
             First Name       Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief        Cash                                                                                           11 USC § 522(d)(5)
                                                                                                                 ____________________________
     description: _________________________             100.00
                                                       $________________         100.00
                                                                              X $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: 16
                   ______                                                        any applicable statutory limit ____________________________

     Brief        Checking Account with Affinity                                                                   11 USC § 522(d)(5)
                                                                                                                   ____________________________
     description: Federal Credit Union
                  _________________________
                                                        500.00
                                                       $________________      
                                                                              X $ ____________
                                                                                  500.00
                                                                                                                   ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          17.1
                          ______                                                                                   ____________________________

     Brief        Household Property                                                                               11 USC § 522(d)(3)
                                                                                                                   ____________________________
     description: _________________________
                                                        1,500.00
                                                       $________________         1,500.00
                                                                              X $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: 6                                                             any applicable statutory limit    ____________________________
                   ______
                  Watch, rings                                                                                   11 USC § 522(d)(4)
                                                                                                                 ____________________________
     Brief
     description: _________________________
                                                        1,000.00
                                                       $________________         1,000.00
                                                                              X $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: 12
                   ______                                                        any applicable statutory limit ____________________________

     Brief        Wearing Apparel                                                                                  11 USC § 522(d)(5)
                                                                                                                   ____________________________
     description: _________________________
                                                        1,000.00
                                                       $________________         1,000.00
                                                                              X $ ____________
                                                                                                                   ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          11
                          ______                                                                                   ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________

                                                                                                                 ____________________________
     Brief
     description: _________________________            $________________       $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          ______                                                                                   ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________

                                                                                                                 ____________________________
     Brief
     description: _________________________            $________________       $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          ______                                                                                   ____________________________

     Brief                                                                                                         ____________________________
     description:                                      $________________       $ ____________                     ____________________________
                    _________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________


Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                            2 of __
                                                                                                                                       page ___   2
             Case 19-23697-KCF                      Doc 1            Filed 07/15/19 Entered 07/15/19 12:14:27                                       Desc Main
                                                                    Document Page 21 of 58
Fill in this information to identify your case:

Debtor 1          Derek Bernard Battle
                  __________________________________________________________________
                    First Name                Middle Name                      Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name                      Last Name


United States Bankruptcy Court for the: District of New Jersey
                                        ______________________________________

Case number         ___________________________________________
(If known)                                                                                                                                               Check if this is an
                                                                                                                                                            amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      
      X    Yes. Fill in all of the information below.


Part 1:         List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1                                                         Describe the property that secures the claim:                   0.00
                                                                                                                           $_________________  Unknown
                                                                                                                                              $________________  0.00
                                                                                                                                                                $____________
      American  Honda Finance
      ______________________________________
      Creditor’s Name
                                                        2015 Honda Accord with miles.
      PO  Box 65507
      ______________________________________
      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      Wilmington            DE 19808
      ______________________________________                   Unliquidated
      City                   State ZIP Code                    Disputed
   Who owes the debt? Check one.                            Nature of lien. Check all that apply.
   
   X     Debtor 1 only                                         An agreement you made (such as mortgage or secured
        Debtor 2 only                                          car loan)
        Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another               Judgment lien from a lawsuit
                                                            
                                                            X                                       Leased Vehicle
                                                                Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
                            2015
   Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2                                                         Describe the property that secures the claim:                   33,998.29
                                                                                                                           $_________________  35,000.00
                                                                                                                                              $________________  0.00
                                                                                                                                                                $____________
      Bank  of America
      ______________________________________
      Creditor’s Name
                                                        2014 Mercedes Benz CLS550 with 5296 miles.
      PO  Box 45224
      ______________________________________
      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      Jacksonville          FL 32232
      ______________________________________                   Unliquidated
      City                   State ZIP Code                    Disputed
   Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        Debtor 1 only                                         An agreement you made (such as mortgage or secured
        Debtor 2 only                                          car loan)
        Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic’s lien)
   
   X     At least one of the debtors and another               Judgment lien from a lawsuit
                                                            
                                                            X   Other (including a right to offset) Automobile Loan
                                                                                                    ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred 2014
                            ____________                    Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                33,998.29
                                                                                                                           $_________________


  Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                                                 2
                                                                                                                                                              page 1 of ___
              Case 19-23697-KCF                      Doc 1         Filed 07/15/19 Entered 07/15/19 12:14:27                                     Desc Main
                                                                  Document Page 22 of 58
Debtor 1           Derek Bernard Battle
                   _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name      Middle Name        Last Name




                 Additional Page                                                                                       Column A               Column B              Column C
Part 1:                                                                                                                Amount of claim        Value of collateral   Unsecured
                 After listing any entries on this page, number them beginning with 2.3, followed                                             that supports this    portion
                                                                                                                       Do not deduct the
                 by 2.4, and so forth.                                                                                 value of collateral.   claim                 If any
2.3                                                    Describe the property that secures the claim:                    898,600.00
                                                                                                                       $_________________  659,000.00
                                                                                                                                          $________________  239,600.00
                                                                                                                                                            $____________
      Bank  of America, N.A.
      ______________________________________
      Creditor’s Name

      c/o Phelan Hallinan, etc.
      ______________________________________
                                             1 Barge Lane, Somerset, NJ 08873
      Number            Street


      400 Fellowship Rd. Suite 100
      ______________________________________           As of the date you file, the claim is: Check all that apply.

      Mt.  Laurel            NJ 08054
      ______________________________________               Contingent
      City                   State ZIP Code                Unliquidated
                                                           Disputed
   Who owes the debt? Check one.                       Nature of lien. Check all that apply.
   
   X       Debtor 1 only                               
                                                       X    An agreement you made (such as mortgage or secured
          Debtor 2 only                                    car loan)
          Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another         Judgment lien from a lawsuit
                                                           Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt

   Date debt was incurred 2003
                          ____________                 Last 4 digits of account number ___ ___ ___ ___

2.4                                                    Describe the property that secures the claim:                    100,000.00
                                                                                                                       $_________________  659,000.00
                                                                                                                                          $________________  100,000.00
                                                                                                                                                            $____________
      Chase  Mortgage Co.
      ______________________________________
      Creditor’s Name

      Mail Code LA4-6475
      ______________________________________
                                             1 Barge Lane, Somerset, NJ
      Number            Street

                                                       As of the date you file, the claim is: Check all that apply.
      700 Kansas Lane
      ______________________________________
                                                           Contingent
      Monroe                  LA 71203
      ______________________________________               Unliquidated
      City                   State ZIP Code
                                                           Disputed
   Who owes the debt? Check one.
                                                       Nature of lien. Check all that apply.
   
   X       Debtor 1 only
                                                       
                                                       X    An agreement you made (such as mortgage or secured
          Debtor 2 only                                    car loan)
          Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another         Judgment lien from a lawsuit

          Check if this claim relates to a
                                                           Other (including a right to offset) ____________________
           community debt

                          2008
   Date debt was incurred ____________                 Last 4 digits of account number ___ ___ ___ ___

2.5                                                    Describe the property that secures the claim:                    0.00               Unknown           0.00
      Toyota Financial
      ______________________________________                                                                           $_________________ $________________ $____________
      Creditor’s Name

      PO  Box 8026                           2016 Toyota Highlander with 31246 miles.
      ______________________________________
      Number            Street

      ______________________________________           As of the date you file, the claim is: Check all that apply.
      Cedar  Rapids           IA     52409 
      ______________________________________                Contingent
      City                   State ZIP Code                Unliquidated
                                                           Disputed
   Who owes the debt? Check one.                       Nature of lien. Check all that apply.
   
   X       Debtor 1 only                                   An agreement you made (such as mortgage or secured
          Debtor 2 only                                    car loan)
          Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another         Judgment lien from a lawsuit
                                                       
                                                       X                                        Leased Vehicle
                                                            Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt
   Date debt was incurred 2016
                          ____________                 Last 4 digits of account number ___ ___ ___ ___

              Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                      998,600.00
             If this is the last page of your form, add the dollar value totals from all pages.
             Write that number here:                                                                                    1,032,598.29
                                                                                                                       $_________________

  Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           2 of ___
                                                                                                                                                          page ___    2
                Case 19-23697-KCF                         Doc 1      Filed 07/15/19 Entered 07/15/19 12:14:27                                       Desc Main
 Fill in this information to identify your case:                    Document Page 23 of 58

 Debtor 1             Derek                 Bernard               Battle
                      __________________________________________________________________
                       First Name                    Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name             Last Name


 United States Bankruptcy Court for the: District of New Jersey
                                         ______________________________________
                                                                                                                                                       Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                             amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
        
        X Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim     Priority    Nonpriority
                                                                                                                                                      amount      amount
2.1
         Internal Revenue Service
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___             5,566.28
                                                                                                                                 $_____________  5,566.28 $____________
                                                                                                                                                $___________ 0.00
         Priority Creditor’s Name

         PO Box 219690
         ____________________________________________                 When was the debt incurred?          ____________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.
         Kansas City           MO 64121
         ____________________________________________                    Contingent
         City                                State      ZIP Code
                                                                         Unliquidated
         Who incurred the debt? Check one.
                                                                         Disputed
         
         X      Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
                                                                         Domestic support obligations
               At least one of the debtors and another
                                                                      
                                                                      X   Taxes and certain other debts you owe the government
               Check if this claim is for a community debt              Claims for death or personal injury while you were
         Is the claim subject to offset?                                  intoxicated
         
         X      No                                                       Other. Specify _________________________________
               Yes
2.2
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?          ____________
         ____________________________________________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

         ____________________________________________
                                                                         Contingent
         City                                State      ZIP Code         Unliquidated
         Who incurred the debt? Check one.                               Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                         Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
                                                                         Claims for death or personal injury while you were
               Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                                 Other. Specify _________________________________
               No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      10
                                                                                                                                                           page 1 of ___
              Case
                Derek
                        19-23697-KCF  Bernard
                                              Doc 1 BattleFiled 07/15/19 Entered 07/15/19 12:14:27 Desc Main
Debtor 1        _______________________________________________________
                First Name   Middle Name       Last Name Document       Page 24 of Case
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  Part 2:          List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X Yes
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim
4.1
       American Express
       _____________________________________________________________              Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                        13,805.12
                                                                                                                                                         $__________________
                                                                                 When was the debt incurred?           ____________
       43 Butterfield Circle
       _____________________________________________________________
       Number           Street

       El Paso                        TX      79906
       _____________________________________________________________
       City                                             State    ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                    Contingent
       Who incurred the debt? Check one.                                            Unliquidated
       
       X      Debtor 1 only                                                         Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                               Student loans

             Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?                                              Debts to pension or profit-sharing plans, and other similar debts
       
       X      No                                                                 
                                                                                 X   Other. Specify Credit Card Charges
                                                                                                    ______________________________________
             Yes

4.2                                                                              Last 4 digits of account number ___ ___ ___ ___                          6,167.07
                                                                                                                                                         $__________________
       Bank of America
       _____________________________________________________________
       Nonpriority Creditor’s Name                                               When was the debt incurred?           ____________
       c/o Hayt Hayt & Landau 2 Industrial Way W
       _____________________________________________________________
       Number           Street
                                                                                 As of the date you file, the claim is: Check all that apply.
       Eatontown                      NJ      07724
       _____________________________________________________________
       City                                             State    ZIP Code
                                                                                    Contingent
       Who incurred the debt? Check one.                                            Unliquidated

       
       X      Debtor 1 only
                                                                                    Disputed

             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                               Student loans
                                                                                    Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                            that you did not report as priority claims
       Is the claim subject to offset?                                              Debts to pension or profit-sharing plans, and other similar debts

       
       X      No                                                                 
                                                                                 X   Other. Specify Credit Card Charges
                                                                                                    ______________________________________

             Yes

4.3
       Baxter Financial LLC
       _____________________________________________________________             Last 4 digits of account number ___ ___ ___ ___
                                                                                                                                                          Unknown
       Nonpriority Creditor’s Name                                                                                                                       $_________________
                                                                                 When was the debt incurred?           ____________
       c/o Fein Such Kahn Shepard 7 Century Drive, Suite 201
       _____________________________________________________________
       Number           Street

       Parsippany                     NJ      07054
       _____________________________________________________________             As of the date you file, the claim is: Check all that apply.
       City                                             State    ZIP Code

                                                                                    Contingent
       Who incurred the debt? Check one.
                                                                                    Unliquidated
       
       X      Debtor 1 only
                                                                                    Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                                    Student loans
             Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?
                                                                                    Debts to pension or profit-sharing plans, and other similar debts
       
       X      No
                                                                                 
                                                                                 X   Other. Specify Credit Card Charges
                                                                                                    ______________________________________
             Yes




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 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.4                                                                                                                 6 ___
                                                                                   Last 4 digits of account number ___ 1 ___
                                                                                                                          4 ___
                                                                                                                             6
      Capital One
      _____________________________________________________________                                                                                         Unknown
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      (Savor Card) 15000 Capital One Drive
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Richmond                       VA      23238
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Credit Card Charges
                                                                                       Other. Specify________________________________
      
      X      No
            Yes



4.5
                                                                                                                    6 ___
                                                                                   Last 4 digits of account number ___ 2 ___
                                                                                                                          9 ___
                                                                                                                             9                              Unknown
                                                                                                                                                           $____________
      Capital One
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      QuickSilver Card 15000 Capital One Drive
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Richmond                       VA      23238
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Credit Card Charges
                                                                                       Other. Specify________________________________
      
      X      No
            Yes


4.6                                                                                                                                                         Unknown
                                                                                                                                                           $____________
                                                                                                                    8 ___
                                                                                   Last 4 digits of account number ___ 9 ___
                                                                                                                          1 ___
                                                                                                                             5
      Capital One
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      Buy Power Card 15000 Capital One Drive
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Richmond                       VA          23238
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Credit Card Charges
                                                                                       Other. Specify________________________________
      
      X      No
            Yes




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 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


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4.7                                                                                Last 4 digits of account number ___ ___ ___ ___
      Cavalry SPV I, LLC
      _____________________________________________________________                                                                                         8,698.15
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 1116
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Charlotte                      NC      28201
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Credit Card Charges
                                                                                       Other. Specify________________________________
      
      X      No
            Yes



4.8
      CitiBank                                                                     Last 4 digits of account number ___ ___ ___ ___                          Unknown
                                                                                                                                                           $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      Best Buy 6500 Nicollet Avee S
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Richfield                      MN      55423
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Credit Card Charges
                                                                                       Other. Specify________________________________
      
      X      No
            Yes


4.9                                                                                                                                                         Unknown
                                                                                                                                                           $____________
                                                                                                                    7 ___
                                                                                   Last 4 digits of account number ___ 1 ___
                                                                                                                          1 ___
                                                                                                                             5
      Discover
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 30943
      _____________________________________________________________
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Salt Lake City                 UT          84130-0943
      _____________________________________________________________
      City                                             State     ZIP Code             Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Credit Card Charges
                                                                                       Other. Specify________________________________
      
      X      No
            Yes




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4.10                                                                                Last 4 digits of account number ___ ___ ___ ___
       Emergency Phys Svcs of NJ PA
       _____________________________________________________________                                                                                         899.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       PO Box 740021
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Cincinnati                     OH      45274
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Medical Services
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.11
                                                                                                                     5 ___
                                                                                    Last 4 digits of account number ___ 6 ___
                                                                                                                           3 ___
                                                                                                                              0                              Unknown
                                                                                                                                                            $____________
       GAP (Synchrony)
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Portfolio Recovery 10 Orachard St., Suite100
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Lake Forest                    CA      92630
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.12                                                                                                                                                         822.92
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       HSBC   Bank Nevada, N.A.
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o NCB Management PO Box 1099
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Langhorne                      PA          19047
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes




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4.13                                                                                Last 4 digits of account number ___ ___ ___ ___
       LVNV Funding LLC
       _____________________________________________________________                                                                                         9,500.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       50 W Liberty St, Suite 250
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Reno                           NV      89501
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.14
                                                                                                                     2 ___
                                                                                    Last 4 digits of account number ___ 0 ___
                                                                                                                           8 ___
                                                                                                                              9                              5,161.14
                                                                                                                                                            $____________
       LVNV Funding, LLC
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Fein Such Kahn Shepard 7 Century Road, Suite 201
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Parsippany                     NJ      07054
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.15                                                                                                                                                         822.92
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       NCB  Management Services, Inc.
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       PO Box 1099
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Langhorne                      PA          19047
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes




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4.16                                                                                                                 9 ___
                                                                                    Last 4 digits of account number ___ 5 ___
                                                                                                                           9 ___
                                                                                                                              0
       Neiman Marcus
       _____________________________________________________________                                                                                         Unknown
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       1618 Main Street
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Dallas                         TX      75201
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.17
       New Century Financial Services                                               Last 4 digits of account number ___ ___ ___ ___                          5,677.32
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Fein Such Kahn Shepard 7 Century Drive, Suite 201
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Parsippany                     NJ      07054
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.18                                                                                                                                                         Unknown
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       New  Century Financial Services
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Pressler Felt & Warshaw 7 Entin Road
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Parsippany                     NJ          07054
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    7 of ___
                                                                                                                                                            page __   10
               Case
                 Derek
                         19-23697-KCF  Bernard
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Debtor 1         _______________________________________________________
                 First Name   Middle Name       Last Name Document       Page 30 of Case
                                                                                    58 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.19                                                                                                                 4 ___
                                                                                    Last 4 digits of account number ___ 4 ___
                                                                                                                           0 ___
                                                                                                                              4
       Penn MedicinePrinceton Med Ctr
       _____________________________________________________________                                                                                         899.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Akron Billing Center 3585 Ridge Park Drive
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Akron                          OH      44333-8203
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Medical Services
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.20
       Pinnacle Credit Services, LLC                                                Last 4 digits of account number ___ ___ ___ ___                          6,573.75
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Fein Such Kahn Shepard 7 Century Drive, Suite 201
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Parsippany                     NJ      07054
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.21                                                                                                                                                         2,357.00
                                                                                                                                                            $____________
                                                                                                                     7 ___
                                                                                    Last 4 digits of account number ___ 4 ___
                                                                                                                           6 ___
                                                                                                                              0
       Princeton Radiology Assoc.
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Remex Inc. 307 Wall Street
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Princeton                      NJ          08540
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    8 of ___
                                                                                                                                                            page __   10
               Case
                 Derek
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Debtor 1         _______________________________________________________
                 First Name   Middle Name       Last Name Document       Page 31 of Case
                                                                                    58 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.22                                                                                                                 1 ___
                                                                                    Last 4 digits of account number ___ 5 ___
                                                                                                                           8 ___
                                                                                                                              0
       Tire Pro's(Synchrony)
       _____________________________________________________________                                                                                         Unknown
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       c/o Portfolio Recovery 10 Orchard St, Suite 100
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Lake Forest                    CA      92630
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Credit Card Charges
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.23
                                                                                    Last 4 digits of account number ___ ___ ___ ___                         $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
             No
             Yes


4.24                                                                                                                                                        $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       _____________________________________________________________
       Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State     ZIP Code             Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
             No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    9 of ___
                                                                                                                                                            page __   10
           Case
             Derek
                     19-23697-KCF  Bernard
                                           Doc 1 BattleFiled 07/15/19 Entered 07/15/19 12:14:27 Desc Main
Debtor 1     _______________________________________________________
             First Name   Middle Name       Last Name Document       Page 32 of Case
                                                                                58 number (if known)_____________________________________
Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                      Total claim


               6a. Domestic support obligations                               6a.      0.00
Total claims                                                                          $_________________________
from Part 1
               6b. Taxes and certain other debts you owe the
                   government                                                 6b.      5,566.28
                                                                                      $_________________________

               6c. Claims for death or personal injury while you were
                   intoxicated                                                6c.      0.00
                                                                                      $_________________________

               6d. Other. Add all other priority unsecured claims.
                   Write that amount here.                                    6d.
                                                                                    + $_________________________
                                                                                       0.00


               6e. Total. Add lines 6a through 6d.                            6e.
                                                                                       5,566.28
                                                                                      $_________________________



                                                                                      Total claim

               6f. Student loans                                              6f.
Total claims                                                                            0.00
                                                                                       $_________________________
from Part 2
               6g. Obligations arising out of a separation agreement
                   or divorce that you did not report as priority
                   claims                                                     6g.       0.00
                                                                                       $_________________________

               6h. Debts to pension or profit-sharing plans, and other
                   similar debts                                              6h.      0.00
                                                                                      $_________________________

               6i. Other. Add all other nonpriority unsecured claims.
                   Write that amount here.                                    6i.   + $_________________________
                                                                                       61,383.39


               6j. Total. Add lines 6f through 6i.                            6j.
                                                                                        61,383.39
                                                                                       $_________________________




  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                page 10    10
                                                                                                                                           __ of ___
               Case 19-23697-KCF                  Doc 1      Filed 07/15/19 Entered 07/15/19 12:14:27                               Desc Main
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 Fill in this information to identify your case:

 Debtor               Derek Bernard Battle
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        District of New Jersey
 United States Bankruptcy Court for the:______________________________________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      
      X    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1                                                                                     2016 Toyota Highlander
      Toyota Motor Credit Corporation
      _____________________________________________________________________
      Name
      PO Box 15012
      _____________________________________________________________________
      Number     Street
      Chandler Arizona 85244-5012
      _____________________________________________________________________
      City                         State   ZIP Code

2.2                                                                                     2015 Honda Accord
      Honda Financial
      _____________________________________________________________________
      Name
      PO Box 168088
      _____________________________________________________________________
      Number     Street
      Irving Texas 75016-8088
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
               Case 19-23697-KCF                         Doc 1             Filed 07/15/19 Entered 07/15/19 12:14:27                  Desc Main
                                                                          Document Page 34 of 58
 Fill in this information to identify your case:

 Debtor 1         Derek  Bernard Battle
                  __________________________________________________________________
                      First Name                    Middle Name                 Last Name

 Debtor 2             ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        District of New Jersey
 United States Bankruptcy Court for the:_______________________________________

 Case number          ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      
      X    Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         Justin Battle
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         3112 Pine Cone Terrace
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         Greensboro                               North Carolina           27406
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                     1
                                                                                                                                                 page 1 of ___
               Case 19-23697-KCF                Doc 1      Filed 07/15/19 Entered 07/15/19 12:14:27                              Desc Main
                                                          Document Page 35 of 58
 Fill in this information to identify your case:


 Debtor 1           Derek  Bernard Battle
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                                  District of New Jersey
 United States Bankruptcy Court for the: ___________________________________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                    Employed
     employers.                                                         Not employed                               FillNot
                                                                                                                          outemployed
                                                                                                                             this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Business Manager
                                                                      __________________________________          __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            Team  Toyota of Princeton
                                                                     __________________________________           __________________________________


                                          Employer’s address        2571 U.S. Rt. 1 South
                                                                   ________________________________________     ________________________________________
                                                                     Number Street                               Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                    Lawrenceville, NJ 08648
                                                                   ________________________________________     ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         2_______
                                                                             years                                 _______

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.     9,423.00                 0.00
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                0.00              + $____________
                                                                                                                     0.00

  4. Calculate gross income. Add line 2 + line 3.                                       4.     9,423.00
                                                                                              $__________               0.00
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                           page 1
            Case 19-23697-KCF                              Doc 1           Filed 07/15/19 Entered 07/15/19 12:14:27                                          Desc Main
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Debtor 1          Derek Bernard Battle
                  _______________________________________________________                                                   Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.      9,423.00
                                                                                                                            $___________            0.00
                                                                                                                                                   $_____________

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.      2,175.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5e. Insurance                                                                                                5e.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5f. Domestic support obligations                                                                             5f.      750.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                             0.00               + $_____________
                                                                                                                                                   0.00
  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.      2,925.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.      6,498.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                               0.00                    0.00
                                                                                                                           $____________           $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                           0.00                    0.00
                                                                                                                           $____________           $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8e. Social Security                                                                                          8e.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                            N/A
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
          Nutrition Assistance Program) or housing subsidies.
                   N/A
          Specify: ___________________________________________________              8f.

      8g. Pension or retirement income                                                                             8g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
                                         N/A
      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                             N/A                 + $_____________
                                                                                                                                                    0.00
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

 10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                            6,498.00
                                                                                                                           $___________     +       0.00
                                                                                                                                                   $_____________           6,498.00
                                                                                                                                                                         = $_____________
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
              None
     Specify: _______________________________________________________________________________                                                                             0.00
                                                                                                                                                                   11. + $_____________

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.      6,498.00
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X     No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
               Case 19-23697-KCF                 Doc 1         Filed 07/15/19 Entered 07/15/19 12:14:27                                 Desc Main
                                                              Document Page 37 of 58
 Fill in this information to identify your case:

 Debtor 1          Derek Bernard Battle
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                                  District of New Jersey
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   
   X     No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                 Dependent’s relationship to                  Dependent’s   Does dependent live
    Do not list Debtor 1 and                
                                            X    Yes. Fill out this information for Debtor 1 or Debtor 2                         age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’                                                    Child                                       5________          No
                                                                                    _________________________
    names.                                                                                                                                     
                                                                                                                                               X    Yes

                                                                                    Child
                                                                                    _________________________                   6________          No
                                                                                                                                               
                                                                                                                                               X    Yes

                                                                                    _________________________                   ________           No
                                                                                                                                                   Yes

                                                                                    _________________________                   ________           No
                                                                                                                                                   Yes

                                                                                    _________________________                   ________           No
                                                                                                                                                   Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                            Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                    1,850.00
                                                                                                                                   $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.       0.00
                                                                                                                                   $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.       0.00
                                                                                                                                   $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.       100.00
                                                                                                                                   $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.       0.00
                                                                                                                                   $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                              page 1
            Case 19-23697-KCF                  Doc 1           Filed 07/15/19 Entered 07/15/19 12:14:27                    Desc Main
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Debtor 1         Derek  Bernard Battle
                 _______________________________________________________                  Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     300.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     20.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     400.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      400.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      500.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      100.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     0.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     100.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      400.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     0.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                   16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    221.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.    366.13
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    659.83
                                                                                                                     $_____________________

                          Vehicle 3
      17c. Other. Specify:_______________________________________________                                     17c.    233.43
                                                                                                                     $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.    750.00
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



  Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
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Debtor 1         Derek  Bernard Battle
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                          21.     0.00
                                                                                                                        +$_____________________

22.    Calculate your monthly expenses.                                                                                   6,400.39
                                                                                                                         $_____________________
       22a. Add lines 4 through 21.
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $_____________________
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.     6,400.39
                                                                                                                         $_____________________



23. Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.
                                                                                                                           6,498.00
                                                                                                                          $_____________________

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           6,400.39

      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.                                                              23c.
                                                                                                                           97.61
                                                                                                                          $_____________________




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X   No.
         Yes.      Explain here:




  Official Form 106J                                         Schedule J: Your Expenses                                                        page 3
            Case 19-23697-KCF                             Doc 1          Filed 07/15/19 Entered 07/15/19 12:14:27                                                     Desc Main
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 Fill in this information to identify your case:

 Debtor 1          Derek  Bernard Battle
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the: District of New Jersey
                                         ______________________________________

 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 659,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 39,100.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 698,100.00
                                                                                                                                                                            ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 1,032,598.29
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 5,566.28
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +   $ 61,383.39
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 1,099,547.96
                                                                                                                                                                            ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 6,498.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                    $ 6,400.39
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
             Case 19-23697-KCF                   Doc 1          Filed 07/15/19 Entered 07/15/19 12:14:27                            Desc Main
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Debtor 1         Derek Bernard Battle
                 _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X Yes

7. What kind of debt do you have?

    
    X Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ 9,423.00
                                                                                                                                         _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            0.00
                                                                                                           $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            5,566.28
                                                                                                           $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            0.00
                                                                                                           $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            0.00
                                                                                                           $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                           $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                        + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                     5,566.28
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                Case 19-23697-KCF                       Doc 1     Filed 07/15/19 Entered 07/15/19 12:14:27                                Desc Main
                                                                 Document Page 42 of 58
Fill in this information to identify your case:

Debtor 1          Derek Bernard Battle
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


United States Bankruptcy Court for the: District of New Jersey
                                        _______________________________________
Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




    /s/Derek Bernard Battle
          ______________________________________________             
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


         Date 07/15/2019
              _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
               Case 19-23697-KCF                  Doc 1     Filed 07/15/19 Entered 07/15/19 12:14:27                            Desc Main
                                                           Document Page 43 of 58
  Fill in this information to identify your case:                                                              Check as directed in lines 17 and 21:
                                                                                                               According to the calculations required by
  Debtor 1          Derek Bernard Battle
                    __________________________________________________________________                         this Statement:
                      First Name             Middle Name             Last Name

  Debtor 2            ________________________________________________________________                            1. Disposable income is not determined
  (Spouse, if filing) First Name             Middle Name             Last Name                                        under 11 U.S.C. § 1325(b)(3).

  United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY
                                          ______________________________________                               
                                                                                                               X   2. Disposable income is determined
                                                                                                                      under 11 U.S.C. § 1325(b)(3).
  Case number         ___________________________________________
  (If known)                                                                                                      3. The commitment period is 3 years.
                                                                                                               
                                                                                                               X   4. The commitment period is 5 years.


                                                                                                              
                                                                                                               Check if this is an amended filing



Official Form 122C–1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Part 1:          Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
   
   X    Not married. Fill out Column A, lines 2-11.
       Married. Fill out both Columns A and B, lines 2-11.

   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
   the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                   Column A             Column B
                                                                                                   Debtor 1             Debtor 2 or
                                                                                                                        non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).                                                                             9,423.00
                                                                                                   $__________            $__________
                                                                                                    0.00
                                                                                                   $__________            $__________
3. Alimony and maintenance payments. Do not include payments from a spouse.

4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household, your dependents, parents, and
   roommates. Do not include payments from a spouse. Do not include payments you
   listed on line 3.                                                                                0.00
                                                                                                   $_________             $__________

5. Net income from operating a business, profession, or
                                                                    Debtor 1     Debtor 2
   farm
   Gross receipts (before all deductions)                            $______    $______
                                                                              _         _
   Ordinary and necessary operating expenses                    –    $______ –_ $______ _
                                                                                            Copy
   Net monthly income from a business, profession, or farm            0.00
                                                                     $______     $______ here      0.00
                                                                                                   $_________            $__________

6. Net income from rental and other real property                   Debtor 1     Debtor 2

   Gross receipts (before all deductions)                            $______    $______
                                                                              _         _
   Ordinary and necessary operating expenses                    –    $______ –_ $______ _
                                                                                            Copy
   Net monthly income from rental or other real property              0.00
                                                                     $______     $______ here      0.00
                                                                                                   $_________            $__________



 Official Form 122C–1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                          page 1
                  Case 19-23697-KCF                                              Doc 1
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   Debtor 1              Derek Bernard Battle
                                                               Document
                         _______________________________________________________
                                                                                 Page 44 of Case
                                                                                            58 number (if known)_____________________________________
                         First Name               Middle Name                        Last Name



                                                                                                                                                                   Column A                                 Column B
                                                                                                                                                                   Debtor 1                                 Debtor 2 or
                                                                                                                                                                                                            non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                0.00
                                                                                                                                                                    $____________                               $__________

8. Unemployment compensation
                                                                                                                                                                     0.00
                                                                                                                                                                    $____________                               $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ........................................ 

        For you.....................................................................................                    0.00
                                                                                                                  $_____________
        For your spouse.....................................................................                      $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                                                                          0.00
                                                                                                                                                                    $____________                               $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total below.
        N/A                                                                                                                                                         $____________                              $___________
        __________________________________________________________________
                                                                                                                                                                    $____________                              $___________
        __________________________________________________________________

       Total amounts from separate pages, if any.                                                                                                              + $____________
                                                                                                                                                                  0.00                                    + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                                              9,423.00
                                                                                                                                                                    $____________                    +         $___________                  =    9,423.00
                                                                                                                                                                                                                                                 $________
                                                                                                                                                                                                                                                 Total average
                                                                                                                                                                                                                                                 monthly income




Part 2:             Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. ..........................................................................................................................                                                            9,423.00
                                                                                                                                                                                                                                              $_____________
13. Calculate the marital adjustment. Check one:

     
     X    You are not married. Fill in 0 below.
         You are married and your spouse is filing with you. Fill in 0 below.
         You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
           list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                                  $___________
            __________________________________________________________________________                                                                                  $___________

            __________________________________________________________________________                                                                              + $___________
          Total ................................................................................................................................................         0.00
                                                                                                                                                                        $___________
                                                                                                                                                                                                         Copy here                         ─0.00
                                                                                                                                                                                                                                             ____________


14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                                                  $ 9,423.00
                                                                                                                                                                                                                                                __________


15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here                  ...........................................................................................................................................................................................    $ 9,423.00
                                                                                                                                                                                                                                               ____________

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                                        x 12
                                                                                                                                                                                                                                              113,076.00
                                                                                                                                                                                                                                             $___________
     15b. The result is your current monthly income for the year for this part of the form. ...................................................................................


   Official Form 122C–1                                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                                           page 2
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   Debtor 1               Derek Bernard Battle
                                                                Document
                          _______________________________________________________
                                                                                  Page 45 of Case
                                                                                             58 number (if known)_____________________________________
                          First Name              Middle Name                     Last Name




16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                 NJ
                                                                                                           _________

     16b. Fill in the number of people in your household.                                                      3
                                                                                                           _________


     16c. Fill in the median family income for your state and size of household. .................................................................................................                                            101,163.00
                                                                                                                                                                                                                             $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 122C–2).

     17b. 
          X Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.


Part 3:                Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


18. Copy your total average monthly income from line 11. .............................................................................................................................                                        9,423.00
                                                                                                                                                                                                                             $__________

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                                                 ─ $__________
                                                                                                                                                                                                                              0.00

     19b. Subtract line 19a from line 18.                                                                                                                                                                                     9,423.00
                                                                                                                                                                                                                             $__________


20. Calculate your current monthly income for the year. Follow these steps:

     20a. Copy line 19b.. ..............................................................................................................................................................................................     9,423.00
                                                                                                                                                                                                                            $___________

              Multiply by 12 (the number of months in a year).                                                                                                                                                             x 12
     20b. The result is your current monthly income for the year for this part of the form.                                                                                                                                  113,076.00
                                                                                                                                                                                                                            $___________


     20c. Copy the median family income for your state and size of household from line 16c. .....................................................................
                                                                                                                                                                                                                             101,163.00
                                                                                                                                                                                                                            $___________

21. How do the lines compare?

          Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.
     
     X     Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.


Part 4:             Sign Below


                    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

                          /s/Derek Bernard Battle
                           ___________________________________________________                                                               ____________________________________
                          Signature of Debtor 1                                                                                                    Signature of Debtor 2


                          Date 07/15/2019
                               _________________                                                                                                   Date _________________
                                   MM / DD          / YYYY                                                                                                  MM /      DD        / YYYY


                    If you checked 17a, do NOT fill out or file Form 122C–2.
                    If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.



   Official Form 122C–1                               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                         page 3
              Case 19-23697-KCF                    Doc 1      Filed 07/15/19 Entered 07/15/19 12:14:27                            Desc Main
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 Fill in this information to identify your case:

 Debtor 1          Derek Bernard Battle
                   __________________________________________________________________
                     First Name               Middle Name             Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name             Last Name


 United States Bankruptcy Court for the: DISTRICT
                                         _________OF NEW JERSEY

 Case number         ___________________________________________
 (If known)
                                                                                                                   Check if this is an amended filing


Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                 04/19

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C–1).
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).



Part 1:           Calculate Your Deductions from Your Income



    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
    to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
    instructions for this form. This information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use
   some of your actual expenses if they are higher than the standards. Do not include any operating expenses that you
   subtracted from income in lines 5 and 6 of Form 122C–1, and do not deduct any amounts that you subtracted from your
   spouse’s income in line 13 of Form 122C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




      5.   The number of people used in determining your deductions from income
           Fill in the number of people who could be claimed as exemptions on your federal income tax                3
           return, plus the number of any additional dependents whom you support. This number may
           be different from the number of people in your household.



      National
                                  You must use the IRS National Standards to answer the questions in lines 6-7.
      Standards



      6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
                                                                                                                                      1,384.00
                                                                                                                                     $________
           Standards, fill in the dollar amount for food, clothing, and other items.



      7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two
           categories─people who are under 65 and people who are 65 or older─because older people have a higher IRS
           allowance for health care costs. If your actual expenses are higher than this IRS amount, you may deduct the
           additional amount on line 22.




Official Form 122C-2                                   Chapter 13 Calculation of Your Disposable Income                                              page 1
           Case 19-23697-KCF                                Doc 1           Filed 07/15/19 Entered 07/15/19 12:14:27                                                     Desc Main
                Derek Bernard Battle
                                                                           Document Page 47 of 58
Debtor 1        _______________________________________________________                                                        Case number (if known)_____________________________________
                First Name          Middle Name                Last Name




            People who are under 65 years of age
                                                                 52.00
             7a. Out-of-pocket health care allowance per person $______________

             7b. Number of people who are under 65                                     X 3______

                                                                                        156.00                        Copy           156.00
             7c. Subtotal. Multiply line 7a by line 7b.                                $______________                              $___________
                                                                                                                      here

              People who are 65 years of age or older
                                                                 114.00
             7d. Out-of-pocket health care allowance per person $______________

             7e. Number of people who are 65 or older                                  X 0______
                                                                                                                      Copy
             7f. Subtotal. Multiply line 7d by line 7e.                                 0.00
                                                                                       $______________                here
                                                                                                                                  + $__________
                                                                                                                                     0.00



                                                                                                                                                             Copy here .......
                                                                                                                                               156.00
       7g. Total. Add lines 7c and 7f. ...................................................................................................... $___________                         156.00
                                                                                                                                                                                  $________


     Local
                         You must use the IRS Local Standards to answer the questions in lines 8-15.
     Standards

    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
     Housing and utilities – Insurance and operating expenses
     Housing and utilities – Mortgage or rent expenses

    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
    specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

    8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill                                                            690.00
       in the dollar amount listed for your county for insurance and operating expenses.                                                                                          $________


    9. Housing and utilities – Mortgage or rent expenses:

             9a. Using the number of people you entered in line 5, fill in the dollar amount                                          2,388.00
                   listed for your county for mortgage or rent expenses.                                                             $____________

             9b. Total average monthly payment for all mortgages and other debts secured by
                  your home.
                   To calculate the total average monthly payment, add all amounts that are
                   contractually due to each secured creditor in the 60 months after you file
                   for bankruptcy. Next divide by 60.

                         Name of the creditor                                              Average monthly
                                                                                           payment


                      _________________________________                                      1,850.00
                                                                                            $__________
                      _________________________________                                     $__________
                      _________________________________
                                                                                       +    $__________
                                                                                                                      Copy                         Repeat this amount
                                  9b. Total average monthly payment                          1,850.00
                                                                                            $__________               here
                                                                                                                                   ─ $____________
                                                                                                                                      1,850.00
                                                                                                                                                   on line 33a.

            9c. Net mortgage or rent expense.
                  Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                          538.00
                                                                                                                                     $____________ Copy here .......              538.00
                                                                                                                                                                                  $________
                  rent expense). If this number is less than $0, enter $0.

   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                        0.00
                                                                                                                                                                                  $________
       the calculation of your monthly expenses, fill in any additional amount you claim.
             Explain           _______________________________________________________________
             why:
                               _______________________________________________________________


Official Form 122C-2                                            Chapter 13 Calculation of Your Disposable Income                                                                              page 2
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                 Derek Bernard Battle
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Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name           Last Name



   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.
              1. Go to line 12.
              2 or more. Go to line 12.
              X


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
       expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                      460.00
                                                                                                                                                     $_______


   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for
       each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In
       addition, you may not claim the expense for more than two vehicles.


            Vehicle 1          Describe Vehicle 1:     _________________________________________________________________
                                                       _________________________________________________________________


       13a. Ownership or leasing costs using IRS Local Standard .......................................        508.00
                                                                                                              $____________

       13b. Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
               To calculate the average monthly payment here and on line 13e,
               add all amounts that are contractually due to each secured
               creditor in the 60 months after you file for bankruptcy. Then divide
               by 60.

                 Name of each creditor for Vehicle 1                Average monthly
                                                                    payment
                _________________________________                      $__________
                _________________________________                  +   $__________
                                                                                             Copy                              Repeat this amount
                              Total average monthly payment
                                                                                             here
                                                                                                           ─ $___________      on line 33b.
                                                                       $__________

       13c. Net Vehicle 1 ownership or lease expense                                                                            Copy net Vehicle
                                                                                                               508.00                                 508.00
               Subtract line 13b from line 13a. If this number is less than $0, enter $0. ............        $___________      1 expense here      $_______


            Vehicle 2          Describe Vehicle 2:     _________________________________________________________________
                                                       _________________________________________________________________


       13d. Ownership or leasing costs using IRS Local Standard ...................................         508.00
                                                                                                           $___________

       13e. Average monthly payment for all debts secured by Vehicle 2.
                Do not include costs for leased vehicles.

                 Name of each creditor for Vehicle 2                Average monthly
                                                                    payment
                _________________________________                      $__________
                _________________________________                  +   $__________
                                                                                             Copy                              Repeat this amount
                              Total average monthly payment
                                                                                             here
                                                                                                           ─ $___________      on line 33c.
                                                                       $__________

           13f. Net Vehicle 2 ownership or lease expense                                                                        Copy net Vehicle
                                                                                                               508.00
                                                                                                              $__________       2 expense here        508.00
                                                                                                                                                     $_______
               Subtract line 13e from 13d. If this number is less than $0, enter $0. ...................
                                                                                                                                

   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
       Transportation expense allowance regardless of whether you use public transportation.                                                         $_______


   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim                     0.00
       more than the IRS Local Standard for Public Transportation.                                                                                   $_______


Official Form 122C-2                                   Chapter 13 Calculation of Your Disposable Income                                                          page 3
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Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name     Middle Name         Last Name



     Other Necessary                In addition to the expense deductions listed above, you are allowed your monthly expenses for the
     Expenses                       following IRS categories.

   16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
       from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected                                                           2,175.00
                                                                                                                                                                            $_______
       refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
                                                                                                                                                                             0.00
                                                                                                                                                                            $_______
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.
   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance.
       Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of
                                                                                                                                                                             0.00
                                                                                                                                                                            $_______
       life insurance other than term.

   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.                                                                                                                    0.00
                                                                                                                                                                            $_______
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or                                                                                                                                     0.00
                                                                                                                                                                            $_______
        for your physically or mentally challenged dependent child if no public education is available for similar services.

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                                                             1,250.00
                                                                                                                                                                            $_______
   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
       required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
       savings account. Include only the amount that is more than the total entered in line 7.                                                                               0.00
                                                                                                                                                                            $_______
       Payments for health insurance or health savings accounts should be listed only in line 25.

   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.                                                                                                                +    400.00
                                                                                                                                                                            $________
       Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Form 122C-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                     8,069.00
                                                                                                                                                                            $________
       Add lines 6 through 23.

     Additional Expense                   These are additional deductions allowed by the Means Test.
     Deductions                           Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                        0.00
                                                                  $__________

           Disability insurance                                    0.00
                                                                  $__________
           Health savings account                            +     0.00
                                                                  $__________
                                                                                                                                                                             0.00
           Total                                                   0.00
                                                                  $__________     Copy total here ......................................................................   $________

           Do you actually spend this total amount?
       
       X      No. How much do you actually spend?                  0.00
                                                                  $__________
             Yes

   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
                                                                                                                                                                             0.00
                                                                                                                                                                            $_______
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
           you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                                                       0.00
                                                                                                                                                                            $_______
       By law, the court must keep the nature of these expenses confidential.


Official Form 122C-2                                   Chapter 13 Calculation of Your Disposable Income                                                                                 page 4
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                   Derek Bernard Battle
                                                                              Document Page 50 of 58
Debtor 1           _______________________________________________________                                                        Case number (if known)_____________________________________
                   First Name          Middle Name               Last Name




    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,
       then fill in the excess amount of home energy costs.                                                                                                                  0.00
                                                                                                                                                                            $_______
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
       claimed is reasonable and necessary.


    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more                                                                    0.00
                                                                                                                                                                            $_______
       than $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a
       private or public elementary or secondary school.
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount
       claimed is reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.


    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher                                                  0.00
                                                                                                                                                                            $_______
       than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
       than 5% of the food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate
       instructions for this form. This chart may also be available at the bankruptcy clerk’s office.
       You must show that the additional amount claimed is reasonable and necessary.

    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
                                                                                                                                                                             0.00
                                                                                                                                                                          + $________
       instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
       Do not include any amount more than 15% of your gross monthly income.

    32. Add all of the additional expense deductions.                                                                                                                       0.00
                                                                                                                                                                           $_________
       Add lines 25 through 31.


     Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
           loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due
       to each secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                           Average monthly
                                                                                                                                           payment
            Mortgages on your home                                                                         
                                                                                                                                            1,850.00
            33a. Copy line 9b here ...................................................................................................    $___________
           
            Loans on your first two vehicles                                                               
            33b. Copy line 13b here. ...............................................................................................      $___________
      
            33c. Copy line 13e here. ...............................................................................................      $___________

            33d. List other secured debts:

                                                                                                                      
                     Name of each creditor for other                               Identify property that            Does
                     secured debt                                                  secures the debt                  payment
                                                                                                                     include taxes
                                                                                                                     or insurance?

                                                                                                                      
                                                                                                                       No
                                                                                                                              $___________
                     ___________________________________ ________________________                                     
                                                                                                                       Yes
                                                                                                                      
                                                                                                                       No
                                                                                                                              $___________
                     ___________________________________ ________________________                                     
                                                                                                                       Yes
                                                                                                                      
                                                                                                                       No
                                                                                                                            + $___________
                     ___________________________________ ________________________                                     
                                                                                                                       Yes
                                                                                                                                            1,850.00         Copy total      1,850.00
            33e. Total average monthly payment. Add lines 33a through 33d. ..........................................                      $___________                     $_______
                                                                                                                                                             here


Official Form 122C-2                                               Chapter 13 Calculation of Your Disposable Income                                                                     page 5
           Case 19-23697-KCF                                         Doc 1             Filed 07/15/19 Entered 07/15/19 12:14:27                                                           Desc Main
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Debtor 1          _______________________________________________________                                                                           Case number (if known)_____________________________________
                  First Name             Middle Name                    Last Name




   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary
       for your support or the support of your dependents?


       
       X     No. Go to line 35.
            Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                  possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

                          Name of the creditor                             Identify property that                   Total cure                                    Monthly cure amount
                                                                           secures the debt                         amount


                       _________________________                           __________________                       $__________                ÷ 60 =             $___________


                       _________________________                           __________________                       $__________                ÷ 60 =             $___________


                       _________________________                           __________________                       $__________                ÷ 60 = +           $___________

                                                                                                                                                                                        Copy
                                                                                                                                               Total              $___________          total     $_______
                                                                                                                                                                                        here


   35. Do you owe any priority claimssuch as a priority tax, child support, or alimony that are past due as of
       the filing date of your bankruptcy case? 11 U.S.C. § 507.
       
       X No. Go to line 36.
            Yes. Fill in the total amount of all of these priority claims. Do not include current or
                  ongoing priority claims, such as those you listed in line 19.

                       Total amount of all past-due priority claims. ....................................................................                         $______________       ÷ 60       0.00
                                                                                                                                                                                                  $_______



   36. Projected monthly Chapter 13 plan payment                                                                                                                  $______________

       Current multiplier for your district as stated on the list issued by the Administrative
       Office of the United States Courts (for districts in Alabama and North Carolina) or by
       the Executive Office for United States Trustees (for all other districts).
                                                                                                                                                              x % 7.8
                                                                                                                                                                  ______
       To find a list of district multipliers that includes your district, go online using the link
       specified in the separate instructions for this form. This list may also be available at the
       bankruptcy clerk’s office.
                                                                                                                                                                                        Copy
       Average monthly administrative expense                                                                                                                      0.00
                                                                                                                                                                  $______________       total      0.00
                                                                                                                                                                                                  $_______
                                                                                                                                                                                        here


   37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                                                      1,850.00
                                                                                                                                                                                                 $_______




     Total Deductions from Income

   38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS expense allowances ...................................                                                   8,069.00
                                                                                                                                                                  $______________

      Copy line 32, All of the additional expense deductions ......................................................................                                0.00
                                                                                                                                                                  $______________

      Copy line 37, All of the deductions for debt payment ......................................................................... + $______________
                                                                                                                                        1,850.00

                                                                                                                                                                                        Copy
      Total deductions ........................................................................................................................................    9,919.00
                                                                                                                                                                  $______________       total     9,919.00
                                                                                                                                                                                                 $_______
                                                                                                                                                                                        here 




Official Form 122C-2                                                      Chapter 13 Calculation of Your Disposable Income                                                                                   page 6
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                  Derek Bernard Battle
                                                                           Document Page 52 of 58
Debtor 1          _______________________________________________________                                                    Case number (if known)_____________________________________
                  First Name         Middle Name               Last Name


Part 2:            Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13                                                                                            9,423.00
                                                                                                                                                                             $_______
     Statement of Your Current Monthly Income and Calculation of Commitment Period. ...................................................................

40. Fill in any reasonably necessary income you receive for support for dependent
     children. The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part I of Form 122C-1, that you                                               0.00
                                                                                                                                         $____________
     received in accordance with applicable nonbankruptcy law to the extent reasonably
     necessary to be expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
     employer withheld from wages as contributions for qualified retirement plans, as                                                     0.00
                                                                                                                                         $____________
     specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement
     plans, as specified in 11 U.S.C. § 362(b)(19).


42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ............  $____________
                                                                                                      9,919.00


43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special circumstances
     and their expenses. You must give your case trustee a detailed explanation of the
     special circumstances and documentation for the expenses.

      Describe the special circumstances                                                  Amount of expense

       ______________________________________________________                                $___________

       ______________________________________________________
                                                                                             $___________
       ______________________________________________________                            + $___________
                                                                                                                     Copy here
                                                                           Total             $___________                         + $_____________

                                                                                                                                          9,919.00
                                                                                                                                         $____________
44. Total adjustments. Add lines 40 through 43. ....................................................................................                    Copy here      –    9,919.00
                                                                                                                                                                             $______



45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                           -496.00
                                                                                                                                                                         $_______



Part 3:             Change in Income or Expenses


46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed
     or are virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be
     open, fill in the information below. For example, if the wages reported increased after you filed your petition, check
     122C-1 in the first column, enter line 2 in the second column, explain why the wages increased, fill in when the increase
     occurred, and fill in the amount of the increase.

      Form                Line        Reason for change                                        Date of change             Increase or          Amount of change
                                                                                                                          decrease?

      122C─1             ____        _______________________________                         ____________
                                                                                                                           Increase          $____________
      122C─2                                                                                                              Decrease
      122C─1             ____        _______________________________                         ____________
                                                                                                                           Increase          $____________
      122C─2                                                                                                              Decrease
      122C─1             ____        _______________________________                         ____________
                                                                                                                           Increase          $____________
      122C─2                                                                                                              Decrease

      122C─1             ____        _______________________________                         ____________
                                                                                                                           Increase          $____________
      122C─2                                                                                                              Decrease


Official Form 122C-2                                             Chapter 13 Calculation of Your Disposable Income                                                                        page 7
           Case 19-23697-KCF                       Doc 1         Filed 07/15/19 Entered 07/15/19 12:14:27                        Desc Main
               Derek Bernard Battle
                                                                Document Page 53 of 58
Debtor 1       _______________________________________________________                          Case number (if known)_____________________________________
               First Name            Middle Name    Last Name



Part 4:         Sign Below




By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.



   /s/Derek Bernard Battle
    ___________________________________________________                  __________________________________
    Signature of Debtor 1                                                    Signature of Debtor 2


         07/15/2019
    Date _________________                                                  Date _________________
           MM / DD          / YYYY                                                MM / DD      / YYYY




Official Form 122C-2                                 Chapter 13 Calculation of Your Disposable Income                                                 page 8
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                                American Express
                                43 Butterfield Circle
                                El Paso,TX 79906

Dothins




                                American Honda Finance
                                PO Box 65507
                                Wilmington,DE 19808

Dothins




                                Bank of America
                                PO Box 45224
                                Jacksonville,FL 32232

Dothins




                                Bank of America
                                c/o Hayt Hayt & Landau
                                2 Industrial Way W
                                Eatontown,NJ 07724

Dothins




                                Bank of America, N.A.
                                c/o Phelan Hallinan, etc.
                                400 Fellowship Rd. Suite 100
                                Mt. Laurel,NJ 08054

Dothins




                                Baxter Financial LLC
                                c/o Fein Such Kahn Shepard
                                7 Century Drive, Suite 201
                                Parsippany,NJ 07054

Dothins




                                Capital One
                                (Savor Card)
                                15000 Capital One Drive
                                Richmond,VA 23238

Dothins




                                Capital One
                                QuickSilver Card
                                15000 Capital One Drive
                                Richmond,VA 23238

Dothins




                                Capital One
                                Buy Power Card
                                15000 Capital One Drive
                                Richmond,VA 23238

Dothins
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                                Cavalry SPV I, LLC
                                PO Box 1116
                                Charlotte,NC 28201

Dothins




                                Chase Mortgage Co.
                                Mail Code LA4-6475
                                700 Kansas Lane
                                Monroe,LA 71203

Dothins




                                CitiBank
                                Best Buy
                                6500 Nicollet Avee S
                                Richfield,MN 55423

Dothins




                                Discover
                                PO Box 30943
                                Salt Lake City,UT 84130-0943

Dothins




                                Emergency Phys Svcs of NJ PA
                                PO Box 740021
                                Cincinnati,OH 45274

Dothins




                                GAP (Synchrony)
                                c/o Portfolio Recovery
                                10 Orachard St., Suite100
                                Lake Forest,CA 92630

Dothins




                                Honda Financial
                                PO Box 168088
                                Irving,TX 75016-8088

Dothins




                                HSBC Bank Nevada, N.A.
                                c/o NCB Management
                                PO Box 1099
                                Langhorne,PA 19047

Dothins




                                Internal Revenue Service
                                PO Box 219690
                                Kansas City,MO 64121

Dothins
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                                LVNV Funding LLC
                                50 W Liberty St, Suite 250
                                Reno,NV 89501

Dothins




                                LVNV Funding, LLC
                                c/o Fein Such Kahn Shepard
                                7 Century Road, Suite 201
                                Parsippany,NJ 07054

Dothins




                                NCB Management Services, Inc.
                                PO Box 1099
                                Langhorne,PA 19047

Dothins




                                Neiman Marcus
                                1618 Main Street
                                Dallas,TX 75201

Dothins




                                New Century Financial Services
                                c/o Fein Such Kahn Shepard
                                7 Century Drive, Suite 201
                                Parsippany,NJ 07054

Dothins




                                New Century Financial Services
                                c/o Pressler Felt & Warshaw
                                7 Entin Road
                                Parsippany,NJ 07054

Dothins




                                Penn MedicinePrinceton Med Ctr
                                c/o Akron Billing Center
                                3585 Ridge Park Drive
                                Akron,OH 44333-8203

Dothins




                                Pinnacle Credit Services, LLC
                                c/o Fein Such Kahn Shepard
                                7 Century Drive, Suite 201
                                Parsippany,NJ 07054

Dothins




                                Princeton Radiology Assoc.
                                c/o Remex Inc.
                                307 Wall Street
                                Princeton,NJ 08540

Dothins
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                                Tire Pro's(Synchrony)
                                c/o Portfolio Recovery
                                10 Orchard St, Suite 100
                                Lake Forest,CA 92630

Dothins




                                Toyota Financial
                                PO Box 8026
                                Cedar Rapids,IA 52409

Dothins




                                Toyota Motor Credit Corporation
                                PO Box 15012
                                Chandler,AZ 85244-5012

Dothins
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                                                 UNITED STATES BANKRUPTCY COURT
                                                              District of New Jersey


In re:                                                                                               Case No.
         Derek Bernard Battle
                                              Debtors
                                                                                                     Chapter    13


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:     July 15, 2019                                             Signed:   /s/Derek Bernard Battle




         Dated:                                                               Signed:



                    /s/Vincent D. Commisa
                    Vincent D. Commisa
                    Attorney for Debtor(s)
                    Bar no.: 1594
                    20 Manger Road
                    West Orange, New Jersey 07052
                    Telephone No: (973) 821-7722
                    Fax No: (973) 521-5121

                    E-mail address:
                    vcommisa@vdclaw.com
